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 9                    UNITED STATES DISTRICT COURT
10               FOR THE CENTRAL DISTRICT OF CALIFORNIA

11     STUDENTS AGAINST RACIAL
12     DISCRIMINATION,

13                Plaintiffs,
14     v.                                      Case No. 8:25-cv-00192-JWH

15     THE REGENTS OF THE                      [PROPOSED] ORDER
16     UNIVERSITY OF CALIFORNIA, et            EXTENDING TIME TO
       al.,                                    RESPOND TO FIRST AMENDED
17                                             COMPLAINT AND DISMISSING
18                Defendants.                  DEFENDANTS

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     Case 8:25-cv-00192-JWH-JDE      Document 28-1     Filed 06/23/25   Page 2 of 2 Page ID
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 1          Pursuant to the Parties’ stipulation, Defendants’ motion to dismiss the initial
 2    Complaint (Dkt. 24) is DENIED AS MOOT, in light of the filing of the First
 3    Amended Complaint (Dkt. 26), without prejudice to Defendants’ ability to move to
 4    dismiss or otherwise respond to the First Amended Complaint. The hearing on
 5    Defendants’ motion to dismiss the initial Complaint, set for July 10, 2025 (Dkt.
 6    25), is VACATED. It is hereby ORDERED that all claims are voluntarily
 7    dismissed, without prejudice, against the following Defendants: Maria Anguiano;
 8    Elaine E. Batchlor; Josiah Beharry; Carmen Chu; Michael Cohen; Gareth Elliott;
 9    Howard “Peter” Guber; Jose M. Hernandez; Nancy Lee; Richard Leib; Hadi
10    Makarechian; Ana Matosantos; Robert Myers; Lark Park; Janet Reilly; Mark
11    Robinson; Gregory Sarris; Jonathan “Jay” Sures; Gavin Newsom; Eleni
12    Kounalakis; Robert Rivas; Tony Thurmond; Michael V. Drake; Geoffrey Pack;
13    and Alfonso Salazar. It is further ORDERED that the remaining Defendants’
14    deadline to answer or otherwise respond to the First Amended Complaint shall be
15    extended up to and including August 14, 2025.
16          IT IS SO ORDERED.
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18    Dated: ___________________                   _______________________
19                                                 John W. Holcomb,
20                                                 United States District Judge
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